
The Court,
however, overruled the objection,
(Kilty, C. J., absent,)
and the prisoner was convicted and punished by fine and whipping. Upon the trial, the owner of the watch having released to the United States his share of any fine which the Court might impose, was examined as a witness in chief. . See 1 Hawk, c. 33, $ 9 ; 2 Hawk. 221; 7 Co. 2 (a.) ; 2 Hale, P. C. 163 ; 2 Hawk. 220; Doug. 796 ; 2 Hawk. 247, § 47 ; 1 Hawk. 136; and the case of The Commonwealth v. Cullins, 1 Mass. Rep. 116. See U. S. v. Clancy, [ante, 13]; U. S. v. Hare, [ante, 82] ; U. S. v. McCan and Dulany, [ante, 207]; U. S. v. Brown, [ante, 210.]
